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                                              Toshiba America, Inc., Toshiba America
                                         10
                                              Information Systems, Inc., Toshiba America
                                         11   Consumer Products, L.L.C., and Toshiba
                                              America Electronic Components, Inc.
                                         12
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                                         13                           UNITED STATES DISTRICT COURT
                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                         14
                                                                        (SAN FRANCISCO DIVISION)
                                         15
                                         16
                                              IN RE: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
                                         17   ANTITRUST LITIGATION                                  MDL No. 1917
                                         18
                                         19   This Document Relates to:
                                         20
                                              Case No. C 11-6397 SC
                                         21
                                              COSTCO WHOLESALE CORPORATION,
                                         22
                                                                                            [PROPOSED] ORDER GRANTING
                                         23                               Plaintiff,        THE TOSHIBA DEFENDANTS’
                                                                                            MOTION TO COMPEL
                                         24
                                                          v.                                ARBITRATION
                                         25
                                              HITACHI, LTD., et al.,
                                         26
                                         27                               Defendants.
                                         28


                                                               [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’
                                                                          MOTION TO COMPEL ARBITRATION
                                                                                Case No. C 11-6397 SC
                                                                                    MDL No. 1917
                                                Case 4:07-cv-05944-JST Document 1332-2 Filed 08/24/12 Page 2 of 2




                                          1        Upon consideration of the Toshiba Defendants’ Notice of Motion and Motion to
                                          2    Compel Arbitration and supporting Memorandum of Points and Authorities, it is hereby
                                          3        ORDERED that the Toshiba Defendants’ Motion to Compel Arbitration is
                                          4    GRANTED; and it is further
                                          5        ORDERED that this action is hereby dismissed, with prejudice, as to Defendants
                                          6    Toshiba Corporation, Toshiba America, Inc., Toshiba America Information Systems,
                                          7    Inc., Toshiba America Consumer Products, L.L.C., and Toshiba America Electronic
                                          8    Corporation, Inc. (collectively, the “Toshiba Defendants”); and it is further
                                          9        ORDERED that Costco Wholesale Corporation shall proceed in arbitration against
                                         10    the Toshiba Defendants in accordance with the August 2, 1995 Vendor Agreement with
                                         11    TACP, Inc.
                                         12
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                         13   IT IS SO RECOMMENDED.
                                         14
                                         15   Dated: _______________, 2012
                                         16                                                          ________________________
                                         17                                                          The Honorable Charles A. Legge (Ret.)
                                                                                                     Special Master
                                         18
                                         19   IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.
                                         20
                                              Dated: _______________, 2012
                                         21
                                                                                                     ________________________
                                         22
                                                                                                     The Honorable Samuel Conti
                                         23
                                                                                                     Northern District of California
                                         24
                                         25
                                         26
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                                         28


                                                              [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’
                                                                         MOTION TO COMPEL ARBITRATION
                                                                               Case No. C 11-6397 SC
                                                                                   MDL No. 1917
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